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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION,                        ) COMPLAINT FOR
      2101 E Street NW              ) DECLARATORY AND
      Washington, DC 20037,         ) INJUNCTIVE RELIEF
                                    )
            and                     )
                                    )
AMERICAN FEDERATION OF              )
GOVERNMENT EMPLOYEES,               )
      80 F Street NW                )
      Washington, DC 20001,         )
                                    ) Civil Action No. __________
                   Plaintiffs,      )
                                    )
            v.                      )
                                    )
DONALD TRUMP, President of the )
United States of America,           )
      1600 Pennsylvania Avenue NW )
      Washington, DC 20050,         )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE,                           )
      2201 C Street NW              )
      Washington, DC 20520,         )
                                    )
UNITED STATES AGENCY FOR            )
INTERNATIONAL DEVELOPMENT, )
      1300 Pennsylvania Avenue NW )
      Washington, DC 20004,         )
                                    )
UNITED STATES TREASURY              )
DEPARTMENT,                         )
      1500 Pennsylvania Avenue NW )
      Washington, DC 20220,         )
                                    )
MARCO RUBIO, Secretary of State, )
      and Acting Administrator of   )
      United States Agency for      )
      International Development,    )



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      United States Department of   )
      State,                        )
      2201 C Street NW              )
      Washington, DC 20520,         )
                                    )
            and                     )
                                    )
SCOTT BESSENT, Secretary of         )
      Treasury,                     )
      1500 Pennsylvania Avenue NW )
      Washington, DC 20220,         )
                                    )
                  Defendants.       )
___________________________________ )


                              INTRODUCTION

      This action seeks declaratory and injunctive relief with respect to a series

of unconstitutional and illegal actions taken by President Donald Trump and his

administration that have systematically dismantled the United States Agency

for International Development (USAID). These actions have generated a global

humanitarian crisis by abruptly halting the crucial work of USAID employees,

grantees, and contractors. They have cost thousands of American jobs. And they

have imperiled U.S. national security interests.

      The first of these actions came on January 20, 2025, when Defendant

Trump issued an Executive Order titled “Reevaluating and Realigning United

States Foreign Aid,” directing an immediate “90-day pause in United States

foreign development assistance for assessment of programmatic efficiencies and

consistency with United States foreign policy.”1 Defendants State Department



1 Exec. Order. No. 14169, 90 Fed. Reg. 8619.



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and Rubio then directed the immediate issuance of stop-work orders on USAID

foreign assistance awards. USAID grantees and contractors reeled as they were—

without any notice or process—constrained from carrying out their work

alleviating poverty, disease, and humanitarian crises. Defendant Rubio

subsequently was named by Defendant Trump as Acting Director of USAID and

announced that he would consult with Congress on “potential reorganization” of

the agency.2

      Shortly after assistance funding was frozen, over one thousand USAID

institutional support contractors—and thousands more employees of USAID

contractors or grantees—were laid off or furloughed. The humanitarian

consequences of defendants’ actions have already been catastrophic. USAID

provides life-saving food, medicine, and support to hundreds of thousands of

people across the world. Without agency partners to implement this mission,

U.S.-led medical clinics, soup kitchens, refugee assistance programs, and

countless other programs shuddered to an immediate halt.

      Days ago, Elon Musk and other members of the so-called “Department of

Government Efficiency” (DOGE) gutted what remained of the agency. Members

of DOGE reportedly demanded access to classified USAID systems without

requisite security clearances; USAID security officials who attempted to block




2 Press Release, U.S. Dep’t of State, Secretary Marco Rubio Appointed as Acting

Administrator for the United States Agency for International Development
(USAID) (Feb. 3, 2025) (https://tinyurl.com/znt34s64) ).


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them were placed on administrative leave.3 Musk posted on February 3 that he

spent the previous weekend “feeding USAID into the wood chipper,” and that

same day, USAID headquarters shut down.4 More than 1,000 employees—

including some in war zones—were locked out of their computer accounts.5 The

usaid.gov website now indicates that “all USAID direct hire personnel will be

placed on administrative leave globally” on Friday, February 7, 2025, at 11:59

PM.

      Not a single one of defendants’ actions to dismantle USAID were taken

pursuant to congressional authorization. And pursuant to federal statute,

Congress is the only entity that may lawfully dismantle the agency.

      Given the severe ongoing harms suffered by plaintiffs and defendants’

intent to inflict imminent future harm, plaintiffs now file this Complaint and

will seek a temporary restraining order directing Defendants to reverse these

unlawful actions and to halt any further steps to dissolve the agency until the

Court has an opportunity to more fully consider the issues on the merits.




3 Margaret Brennan, et al., Two top security officials at USAID placed on leave,

sources say, CBS News (Feb. 3, 2025), https://tinyurl.com/54z6pnu2 .
4   Elon     Musk     (@elonmusk),     X     (Feb.   4,    2025,    1:54      AM),
https://tinyurl.com/mskvue6w .
5 Hana Kiros, America Can’t Just Unpause USAID, The Atlantic (Feb. 4, 2025),

https://tinyurl.com/54w83yz4.


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                                    PARTIES

      1.     Plaintiff American Foreign Service Association (AFSA) is the

professional association and exclusive representative for the U.S. Foreign

Service. AFSA represents nearly 80 percent of active-duty members of the

Foreign Service, including 1980 Foreign Service Officers (FSO) employed by

USAID.

      2.     Plaintiff American Federation of Government Employees,

AFL-CIO (AFGE) is a labor organization and unincorporated association

headquartered at 80 F Street N.W., Washington, D.C. 20001. AFGE, the largest

federal union, represents approximately 800,000 federal civilian employees

through its affiliated councils and locals in every state in the United States.

      3.     Defendant Donald J. Trump is the President of the United

States and oversees the executive branch.

      4.     Defendant United States Department of State is an executive

department of the federal government that is responsible for the country’s

foreign policy and relations.

      5.     Defendant United States Agency for International

Development (USAID) is an independent agency of the United States

government that is primarily responsible for administering civilian foreign aid

and development assistance.




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       6.     Defendant Department of Treasury is an executive

department of the federal government that is responsible for managing federal

finances.

       7.     Defendant Marco Rubio is the Acting Director of USAID and

the Secretary of State. He is sued in his official capacities.

       8.     Defendant Scott Bessent is the Secretary of Treasury. He is

sued in his official capacity.

                         JURISDICTION AND VENUE

       9.     This Court has subject matter jurisdiction over this action pursuant

to 28 U.S.C. § 1331, because this action arises under federal law, specifically, the

United States Constitution and the Administrative Procedure Act, 5 U.S.C. § 701,

et seq., and pursuant to 28 U.S.C. § 1361.

       10.    Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1391(e), because at least one of Defendants is headquartered in

Washington, D.C., and a substantial part of the events or omissions giving rise

to Plaintiff’s claims occurred here.

                                 LEGAL FRAMEWORK

       11.    In 1961, President John F. Kennedy created USAID to aid

strategically important countries, lead American efforts to alleviate poverty and

disease, and assist the commercial interest of the United States by supporting




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sustainable economic growth in developing countries to build capacity for global

trade.6

      12.      An act of Congress, the Foreign Affairs Reform and Restructuring

Act of 1998, later established USAID as an independent agency outside of the

Department of State. It explicitly provided that “there is within the Executive

branch of Government the United States Agency for International Development.”

22 U.S.C. § 6563 (1998).

      13.      The 1988 act also afforded the president a time-limited opportunity

to submit to Congress a “reorganization plan and report” for USAID. To that end,

the president was empowered by Congress either to “provide for the abolition” of

USAID or to transfer its functions to the Department of State. 22 U.S.C.

§ 6601(d). Alternatively, and “in lieu of abolition,” the president could submit a

plan to Congress providing for “the transfer to and consolidation” of certain

USAID       functions,   and   “additional   consolidation,   reorganization,   and

streamlining” of USAID. Id. The president had 60 days following October 21,

1998, to submit the reorganization plan and report. 22 U.S.C. § 6601(a).




6     Cong. Rsch. Serv., U.S. Agency for International Development: An
Overview (Jan. 6, 2025), https://tinyurl.com/4dc4wjhpsee also The Am.
Presidency Proj., Executive Order 10973 - Administration of Foreign Assistance
and Related Functions (Nov. 3, 1961), https://tinyurl.com/3pwptwat (text of
Executive Order 10973).


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      14.      On December 30, 1998, President Clinton submitted a report to

Congress pursuant to Section 6601. That report determined that “USAID will

remain a distinct agency with a separate appropriation.”7

      15.      Since the Foreign Affairs Reform and Restructuring Act of 1998,

Congress has repeatedly appropriated funds for USAID as an independent

agency. Congress most recently did so in the Further Consolidated

Appropriations Act, 2024 (“Appropriations Act”).

      16.      The Appropriations Act also explicitly restricted the ability of the

executive branch to reorganize USAID. The Act provided that “funds

appropriated by this Act, prior Acts making appropriations for the Department

of State, foreign operations, and related programs, or any other Act may not be

used to implement a reorganization, redesign, or other plan . . . by the

Department of State, the United States Agency for International Development,

or any other Federal department, agency, or organization funded by this Act

without prior consultation by the head of such department, agency, or

organization    with   the   appropriate       congressional   committees.”   Further

Consolidated Appropriations Act, Pub. L. 118-47 § 7063(a), 138 Stat 460 (2024).

      17.      The Appropriations Act defined “reorganization, redesign, or other

plan” to include, inter alia, any action to “eliminate, consolidate, or downsize



7 Reorganization Plan and Report Submitted by President Clinton to the
Congress on December 30, 1998, Pursuant to Section 1601 of the Foreign Affairs
Reform and Restructuring Act of 1998, as Contained in Public Law 105-277.
https://tinyurl.com/48kthcr8.


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covered departments, agencies, or organizations,” any action to “eliminate,

consolidate, or downsize the United States official presence overseas,” or “reduce

the size of the permanent Civil Service, Foreign Service, eligible family member,

and locally employed staff workforce” of USAID “from the staffing levels

previously justified to the Committees on Appropriations for fiscal year 2024.” Id.

§ 7063(b).

      18.    The Appropriations Act also imposes notification requirements on

the funds. Among other things, it provides that no funds shall be available for

obligation to “suspend or eliminate a program, project, or activity,” “close,

suspend, open, or reopen a mission or post,” or “create, close, reorganize,

downsize, or rename bureaus, centers, or offices” unless “previously justified to

the Committees on Appropriations or such Committees are notified 15 days in

advance of such obligation.” Id. § 7015(a).

                          FACTUAL ALLEGATIONS

USAID Foreign Assistance Funding is Frozen

      19.    On January 20, 2025, President Trump issued an Executive Order

titled “Reevaluating and Realigning United States Foreign Aid,” Exec. Order. No.

14169, 90 Fed. Reg. 8619, directing a “90-day pause in United States foreign

development assistance for assessment of programmatic efficiencies and

consistency with United States foreign policy.” Id. The funding freeze applied

“immediately” to all “obligations and disbursements of development assistance

funds.” Id. After that 90-day period, the Order directed “[t]he responsible




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department and agency heads . . . [to] make determinations . . . whether to

continue, modify, or cease each foreign assistance program . . . with the

concurrence of the Secretary of State.” Id.

      20.    Four days later, on January 24, 2025, the Secretary of State directed

his staff to halt “foreign assistance funded by or through” USAID and required

the “immediate[ ]” issuance of “stop-work orders” for existing foreign assistance

grants and contracts.8

      21.    In the following days, USAID issued stop-work orders to contractor

and grantee agency partners, requiring them to immediately stop work and to

minimize the incurrence of costs allocable to the work covered by the order during

the period of work stoppage.

      22.    Defendants simultaneously began purging agency employees and

contractors. On January 26, at least fifty-six senior career agency staff were put

on administrative leave.9 By January 29, hundreds of institutional support

contractors were laid off.10 William Malyszka, USAID’s top human resources




8 Dep’t of State, Memo. 25 STATE 6828 (attached as Exhibit A); see also Press

Release, U.S. Dep’t of State, Prioritizing America’s National Interests One Dollar
at A Time (Jan. 29, 2025), https://tinyurl.com/2n4zyp8f (confirming the existence
of the January 24 order).
9 Ellen Knickmeyer and Matthew Lee, US places dozens of senior aid officials on

leave, citing possible resistance        to   Trump    orders,     AP   (Jan.    27,
2025),https://tinyurl.com/37r6pb2y.
10 Anna Gawel, Furloughs hit hundreds of USAID contractors, Devex (Jan. 29,

2025),https://tinyurl.com/ycxpb54h. .


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official, reportedly refused defendants’ directives to put thousands more staff on

administrative leave, before he, too, was pushed out.11

        23.   As a result of these actions, most functions of the agency

immediately halted, with life-threatening consequences. Clinics stopped

distributing HIV medication.12 Staff who operate humanitarian operations at

refugee camps in Syria were told to stop work, leaving thousands of people

vulnerable to instability and violence at the hands of ISIS.13 Soup kitchens that

feed nearly a million people in famine-stricken Khartoum were shut down.14

Toddlers in Zambia were deprived of rehydration salts to treat life-threatening

diarrhea.15 Doctors at U.S.-funded medical facilities in Sudan that treat severely

malnourished children were forced to choose whether to obey Defendants’ orders




11 Elissa Miolene, Top USAID HR officer pushed out after refusing to fire more

staff, Devex (Feb. 4, 2025),https://tinyurl.com/4pujyp5t.
12 Melody Schreiber, Trump's 'stop-work' order for PEPFAR cuts off anti-HIV

drugs for patients, NPR (Jan. 28, 2025), https://tinyurl.com/bdf52kas.
13 Tom Bateman, How a US freeze upended global aid in a matter of days, BBC

(Jan. 29, 2025), https://tinyurl.com/27k3mjue.
14 Sui-Lee Wee, et al., How the World is Reeling from Trump’s Aid Freeze, N.Y.

Times (Jan. 31, 2025), https://tinyurl.com/2fjm79nh.
15Stephanie Nolen, Health Programs Shutter Around The World As Trump
Pauses Foreign Aid, N.Y. Times (Feb. 1, 2025), https://tinyurl.com/53j4mhw9.


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and “immediately stop their operations or to let up to 100 babies and toddlers

die.”16

The State Department Issues Limited Foreign Assistance Waivers

          24.   As chaos engulfed the agency and the humanitarian operations it

serves, the State Department issued two waivers of its order to halt foreign

assistance through USAID. First, on January 28, 2025, it issued a limited waiver

of the pause on USAID funding for “life-saving humanitarian assistance,” defined

to mean “core life-saving medicine, medical services, food, shelter, and

subsistence assistance.”17 The statement specified that that limited resumption

was “temporary in nature.”18

          25.   Second, on February 1, 2025, the State Department announced a

“limited waiver” for “[l]ife-saving HIV care and treatment services, inclusive of

HIV testing and counseling, prevention and treatment of opportunistic infections

including TB, laboratory services, and procurement and supply chain

commodities/medicines” and “[p]revention of mother-to-child transmission




16 Brett Murphy and Anna Maria Barry-Jester, “People Will Die”: The Trump

Administration Said it Lifted its Ban on Lifesaving Humanitarian Aid. That’s
Not True, ProPublica (Jan. 31, 2025), https://tinyurl.com/y7stwsua.
17 Press Release, U.S. Dep’t of State, Emergency Humanitarian Waiver to Foreign

Assistance Pause (Jan. 28, 2025), https://tinyurl.com/34wmfvu8.
18 Id.




                                        12
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services, inclusive of commodities/test kits, medicines and PrEP for pregnant and

breastfeeding women.”19

         26.   These waivers offered little –to no relief for USAID partners who

suffered from defendants’ freeze in funding. They were not “self-executing by

virtue of the announcement,”20 so contractors and grantees scrambled to reach

USAID contacts to ascertain if they were covered by the waiver. But because

agency staff had already suffered severe cuts, groups doing lifesaving work were

unsure how to request a waiver and received little to no information about the

status of such requests.21

The Agency is Dissolved and Remaining Functions Halted

         27.   During the first weekend in February, Defendants swiftly moved

to destroy what remained of the agency.

         28.   On Saturday, February 1, Elon Musk and other members of the so-

called “Department of Government Efficiency” (DOGE) reportedly demanded

access to classified USAID systems without requisite security clearances. USAID




19 @JohnHudson, X (Feb. 1, 2025) https://tinyurl.com/43mdff3p (posting an image

of the first page of the order); Adva Saldinger, Exclusive: Some PEPFAR
programs get waiver to restart operations, Devex (Feb. 1, 2025),
https://tinyurl.com/28sk6xf5.
20 Brett Murphy and Anna Maria Barry-Jester, “People Will Die”: The Trump

Administration Said it Lifted its Ban on Lifesaving Humanitarian Aid. That’s
Not True, ProPublica (Jan. 31, 2025),https://tinyurl.com/y7stwsua .
21 Id.




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security officials who attempted to block them were placed on administrative

leave.22

       29.   That same day, USAID.gov was taken offline.23

       30.   By Sunday, contract personnel at USAID began reporting that they

were locked out of their email.24 Eventually, more than 1,000 USAID

employees—including some in war zones—were completely locked out of their

computer accounts.25 On information and belief, most, if not all, received no prior

notice or communication that they would be losing access to USAID systems.

Those agency staffers still receiving emails were told that, “[a]t the direction of

Agency leadership, the USAID headquarters at the Ronald Reagan building in

Washington, D.C. will be closed to Agency personnel on Monday, February 3,

2025.”26 The email directed that any replies be sent to Gavin Kliger, a special




22 Margaret Brennan, et al., Two top security officials at USAID placed on leave,

sources say, CBSNews (Feb. 3, 2025), https://tinyurl.com/54z6pnu2..
23 Edward Helmore, USAID website offline as Trump moves to put agency under

State Department, The Guardian (Feb. 1, 2025), https://tinyurl.com/25buz7mx. .
24 Michael R. Gordon, et al., Marco Rubio wants USAID to undergo overhaul,

backs off sudden shutdown, The Wall Street Journal (Feb. 3, 2025),
https://tinyurl.com/39s7nw83.       https://www.wsj.com/politics/policy/trump-
administration-shutters-usaid-headquarters-db3fac7e
25 Hana Kiros, America Can’t Just Unpause USAID, The Atlantic (Feb. 4, 2025),

https://tinyurl.com/54w83yz4.
26 Michael R. Gordon et al., Marco Rubio Wants USAID to Undergo Overhaul,

Backs      Off   Sudden   Shutdown,       Wall    St.    J.    (Feb.   3,   2025),
https://tinyurl.com/39s7nw83.


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advisor to the director of the Office of Personnel Management who appears to

currently work for DOGE.27

         31.   According to reports, members of DOGE also pressed the Treasury

Department for access to the system through which aid payments are made. A

top official reportedly wrote to the group, “I don’t believe we have the legal

authority to stop an authorized payment certified by an agency.”28 That official

was reportedly terminated in the following days for refusal to give DOGE

members access to the system.29

         32.   By Monday, USAID—the world’s premier humanitarian assistance

and international development agency—was in complete disarray. Musk stated

that he had spent the previous weekend “feeding USAID into the wood chipper.”30

He also claimed, “With regards to the USAID stuff, I went over it with [President

Trump] in detail and he agreed that we should shut it down.”31

         33.   Consistent with defendants’ efforts to shut down the agency,

President Trump appointed Defendant Rubio to serve as Acting Administrator of




27 Id.


28 Andrew Duehren et al., Treasury Sought to Freeze Foreign Aid Payments,

Emails Show, N.Y. Times (Feb. 6, 2025), https://tinyurl.com/yn27uumyhttps://.
29 Id.
30   Elon     Musk    (@elonmusk),     X    (Feb.    3,       2025.   1:54      AM),
https://tinyurl.com/mskvue6w.
31 Jennifer Hansler et al., Rubio says he’s acting director of USAID as
humanitarian agency is taken over by the State Department, CNN (Feb. 4, 2025),
https://tinyurl.com/3dw3h7nj.


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USAID.32 Defendant Rubio then sent a letter to the Senate Foreign Relations

Committee and House Foreign Affairs Committee providing “notice” and advising

Congress of the State Department’s “intent to initiate consultations . . . regarding

the manner in which foreign aid is distributed around the world.”33 Rubio further

indicated that he authorized Peter Marocco, State Department Director of

Foreign Assistance, to “begin the process of engaging in a review and potential

reorganization of USAID’s activities.”34 Rubio further advised that “State and

other pertinent entities will be consulting with Congress . . . to reorganize and

absorb certain bureaus, offices, and missions of USAID. . . . USAID may move,

reorganize, and integrate certain missions, bureaus, and offices into the

Department of State, and the remainder of the Agency may be abolished

consistent with applicable law.”35

         34.   USAID has already been substantially dismantled. It has no

independent leadership: Defendant Rubio has assumed the mantle of Acting

Director, and U.S. lawmakers concerned about the dissolution of the agency were




32 Id.


33 Image of letter available at Brett Murphy (@BrettMurphy), X (Feb. 3, 2025,

3:41 PM), https://tinyurl.com/fnbxptpm.
34 Id.
35 Id.




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reportedly blocked from meeting with USAID staff and told that it would be “best

to contact” the State Department.36

        35.   On Tuesday, February 4, 2025, President Trump told a reporter “I

think so” when asked if he was going to wind down USAID.37

        36.   On Tuesday, February 4, the State Department ordered the

shutdown of all overseas USAID missions, ordering thousands of USAID

employees to be recalled by Friday, February 7, 2025.38 That same day, the State

Department placed thousands of employees on administrative leave, directing

them “not to enter USAID premises, access USAID systems, or attempt to use

your position or authority with USAID in any way without [the] prior permission

[of Peter Marocco] or prior permission of a supervisor in your chain of

command.”39

        37.   Throughout the week, USAID workforce members reported that key

portions of USAID’s internal infrastructure were either inaccessible or offline.

Such infrastructure includes Phoenix—which is USAID’s core financial




36Elissa Miolene, U.S. lawmakers blocked from USAID, told to go to State
Department instead, Devex (Feb. 3, 2025),https://tinyurl.com/m9hypwar.
37 Jeff Mason & Daphne Psaledakis, Trump says he thinks he will wind down US
humanitarian agency, Reuters (Feb. 4, 2025), https://tinyurl.com/k8swykw7.
38 Humeyra Pamuk, Trump administration puts on leave USAID staff globally in

dramatic aid overhaul, Reuters (Feb. 4, 2025),https://tinyurl.com/2hbvfvpm.
39 Alex Marquardt et al., USAID employees around the world will be placed on

leave Friday and ordered         to   return   to   US,   CNN    (Feb.   5,   2025),
https://tinyurl.com/bdh4kaf5.


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management system—as well as the Global Acquisition and Assistance System

(GLAAS).


      38.    On Tuesday, February 4, 2025, the USAID.gov website came back

online, with the following notice:




Consequences of Defendants’ Actions

  39. The agency’s collapse has had disastrous humanitarian consequences.

Among countless other consequences of defendants’ reckless dissolution of the

agency, halting USAID work has shut down efforts to prevent children from


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dying of malaria, stopped pharmaceutical clinical trials, and threatened a global

resurgence in HIV.40 Deaths are inevitable. Already, 300 babies that would not

have had HIV, now do.41 Thousands of girls and women will die from pregnancy

and childbirth.42 Without judicial intervention, it will only get worse. The

actions defendants plan to take on Friday will “doom billions of dollars in

projects in some 120 countries, including security assistance for Ukraine and

other countries, as well as development work for clean water, job training and

education, including for schoolgirls under Taliban rule in Afghanistan.”43

Injuries to Plaintiffs

     40. Plaintiff AFSA exists to support the United States Foreign Service, which

deploys worldwide to protect and serve America’s people, interests, and values.

AFSA is both the principal advocate for the long-term institutional wellbeing of

the professional career Foreign Service and responsible for safeguarding the

interests of AFSA members.




40 Matthew Kavanaugh & Luis Gil Abinader, Abolishing USAID is both
Unconstitutional and Dangerous, Foreign Policy (Feb. 4, 2025),
https://tinyurl.com/mr2wfsbd. /.
41 Kate Knibbs, Elon Musk’s DOGE Is Still Blocking HIV/AIDS Relief Exempted

From Foreign Aid Cuts, Wired (Feb. 3, 2025), https://tinyurl.com/5n65ehw8.
42Mark Townsend et al., Deaths predicted amid the chaos of Elon Musk’s
shutdown of USAID, Guardian (Feb. 4, 2025), https://tinyurl.com/4ke5kb8p.
43 Ellen Knickmeyer & Matthew Lee, Almost all USAID workers will be pulled

off the job worldwide, Trump administration says, AP (Feb. 5, 2025),
https://tinyurl.com/287dnnk4.


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  41. AFSA represents 1,980 Foreign Service Officers (FSOs) who are currently

employed by USAID. These members have already experienced extraordinary

harms caused by the ongoing shutdown of USAID and are at imminent risk of

further irreparable injury if the shutdown is allowed to continue.

  42. Financial Harms: AFSA’s member FSOs are experiencing myriad

financial injuries and will experience more such injuries as the shutdown

continues. Among other financial harms and risks:

      a. FSOs have reported to AFSA that they are unable to get reimbursed

         by USAID for incurred travel expenses, which can reach into the

         thousands and sometimes tens of thousands in any given month.

         Without reimbursement, FSOs will be on the hook for these expenses

         (which are carried on credit cards under the FSOs’ names) and may

         also experience harm to their credit scores if the FSOs are unable to

         pay off their credit cards.

      b. The mandatory 30-day evacuation—which is being accomplished on

         an impracticable timeline and is a gross departure from standard

         processes for evacuating—threatens to cause financial harm in a

         myriad of ways. For example, some FSOs have spouses employed at

         the local embassy. Such spouses will be forced to give up their

         employment and evacuate alongside the FSOs. Those families will

         therefore lose a second source of income. Further, under the normal

         evacuation process, FSOs would receive a special evacuation




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            allowance (which would include lodging and meals) for up to 180 days

            upon returning to the states. But FSOs have received no indication

            that they will receive that per diem and may be forced to incur

            thousands of dollars of expenses to secure short term housing (e.g.,

            hotels or Airbnbs) for their families as they look for more permanent

            accommodations. And FSOs may lose income themselves upon

            repatriation. Many FSOs earn up to an additional 75% of their base

            salary (for hardship) depending on which country they work in. These

            FSOs will likely lose that additional income when they return to the

            states. Moreover, FSOs will face tremendous logistical uncertainty,

            from navigating the process of withdrawing their children from school

            mid-year to contemplating the possibility of leaving pets behind. The

            above impacts are just a sample of the harms that will flow from the

            mandatory evacuation.

      43.      Physical Safety and Legal Exposure: Some FSOs are located in

dangerous countries and have reported losing access to USAID’s security

apparatus, putting their safety and well-being at risk. Additionally, AFSA has

heard reports that some FSOs have had their immunity status revoked by their

host countries at the direction of senior USAID officials. The revocation of this

status exposes FSOs to the law enforcement procedures of the host country and

strips the FSOs of access to the U.S. embassy for legal counsel and advice. The




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revocation of immunity status also comes with financial harm and risk: without

it, FSOs are subject to duties on their purchases, imports, and exports.

      44.     Plaintiff AFGE is the largest federal union in the nation,

representing approximately 800,000 federal civilian employees through its

affiliated councils and locals in every state in the United States.

      45.    Through its affiliate, AFGE Local 1534, AFGE has over 500

members at USAID.

      46.    As a union, AFGE has already been severely harmed by defendants’

actions and will suffer continued, irreparable harm if defendants’ actions persist.

It has had to devote considerable resources into advising its members about the

consequences of defendants’ arbitrary and reckless actions. Unless this court

intervenes, AFGE will lose the ability to represent its members who were USAID

employees and will lose hundreds of members.

      47.    AFGE’s members, too, have been severely and irreparably harmed.

They are confused and frightened. Some have made choices with significant

financial consequences—such as geographic location and family planning—in

reliance on defendants’ adherence to federal law.

      48.    Because many members have been shut out of USAID computer

systems, they have been unable to recoup reimbursements or to access health

benefits to which they are entitled. Many members will be forced to incur

substantial out-of-pocket costs that they would not have otherwise incurred.




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                               CAUSES OF ACTION

                                   Count One
                       Violation of Separation of Powers
                            (against all Defendants)

       49.    Plaintiffs restate and reallege all paragraphs above as if fully set

forth here.

       50.    Plaintiffs have a non-statutory right of action to declare unlawful

official action that is ultra vires.

       51.    The President of the United States has only those powers conferred

on him by the Constitution and federal statutes.

       52.    The President may not confer powers upon other federal Officers or

Departments within the Executive Branch that he does not himself possess.

       53.    Federal legislation must be passed by both chambers of Congress

before it may be presented to the President, and, if signed, become law.

       54.    The President does not have the power under the Constitution

unilaterally to amend statutes.

       55.    The President may not confer powers upon other federal Officers or

Departments within the Executive Branch that he does not himself possess.

       56.    USAID was established as an independent federal agency by

Congress in 1998 through a duly enacted statute, the Foreign Affairs Reform and

Restructuring Act, signed into law by President Clinton.




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      57.    Since 1998, Congress has passed numerous additional statutes

regarding USAID appropriations and oversight, all the while preserving USAID’s

status as an independent federal agency.

      58.    Because Congress created USAID as a separate agency by statute,

only Congress may act to dissolve it or merge it with the Department of State.

See, e.g., Myers v. United States, 272 U.S. 52 (1926).

      59.    President Trump’s actions to dissolve USAID exceed presidential

authority and usurp legislative authority conferred upon Congress by the

Constitution, in violation of the separation of powers.

      60.    The remaining defendants, acting as agents of Defendant Trump,

aided President Trump in dissolving USAID despite lacking the Constitutional

authority to do so.

      61.    Plaintiffs will suffer irreparable injury if the President’s action is

not declared unlawful, and Plaintiffs have no adequate remedy at law.

      62.    The public interest favors issuance of a judicial declaration that the

president’s unilateral action in dissolving USAID is unlawful because that action

has interrupted life-saving humanitarian work performed throughout the world

by USAID and its contractors, undermined U.S. national security, and caused

thousands of Americans to lose their jobs.

                                 Count Two
                        Violation of Take Care Clause
                           (against all Defendants)




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      63.     Plaintiffs restate and reallege all paragraphs above as if fully set

forth here.

      64.     Article II of the Constitution confers upon the President the duty to

“take care that the Laws be faithfully executed.” U.S. Const., Art. II, § 3.

      65.     The Take Care Clause is judicially enforceable against presidential

actions that violate or undermine statutes duly enacted by Congress. See, e.g.,

Angelus Milling Co. v. Comm’r of Internal Revenue, 325 U.S. 293, 296 (1945)

(“Insofar as Congress has made explicit statutory requirements, they must be

observed and are beyond the dispensing power of [the Executive Branch].”).

      66.     President Trump’s actions in dissolving USAID violate the Take

Care Clause because they violate duly enacted statutes establishing USAID as

an independent agency.

      67.     The Take Care Clause prohibits the President from directing federal

officers to act in derogation of federal statute.

      68.     President Trump’s action in directing Secretary of State Rubio to

take over USAID functions and absorb those functions into the State Department

violates the Take Care Clause because such a restructuring would violate the

Congressionally enacted arrangement under which USAID is an independent

agency distinct from the State Department.

      69.     The remaining defendants, as agents of Defendant Trump, acted

contrary to duly enacted statute in violation of the Take Care Clause.




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      70.      Plaintiffs will suffer irreparable injury if the President’s action is

not declared unlawful, and Plaintiffs have no adequate remedy at law.

      71.      The public interest favors issuance of a judicial declaration that the

president’s unilateral action in dissolving USAID is unlawful because that action

has interrupted life-saving humanitarian work performed throughout the world

by USAID and its contractors, undermined U.S. national security, and caused

thousands of Americans to lose their jobs.

                             Count Three
                Administrative Procedure Act–706(2)(C)
                   In Excess of Statutory Authority
     (against Defendants State Department, USAID, Department of
                    Treasury, Rubio, and Bessent)

      72.      Plaintiffs restate and reallege all paragraphs above as if fully set

forth here.

      73.      Under the APA, a court shall “hold unlawful and set aside agency

action . . . found to be . . . in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

      74.      No defendant possesses the statutory authority to dissolve USAID.

Defendants’ actions to dissolve USAID exceed their respective statutory

authorities.

      75.      Defendants’ unilateral dissolution of USAID also violates a

statutory limitation: namely, the Further Consolidated Appropriations Act,

which limits the use of appropriated funds only to reorganizing or redesigning

USAID—not dissolving it entirely—and only after first consulting with the

appropriate congressional committees.


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                               Count Four
        Violation of the Administrative Procedure Act—706(2)(A)
                         Arbitrary and capricious
     (against Defendants State Department, USAID, Department of
                      Treasury, Rubio, and Bessent)

      76.     Plaintiffs restate and reallege all paragraphs above as if fully set

forth here.

      77.     Under the APA, a court shall “hold unlawful and set aside agency

action . . . found to be arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

      78.     The dissolution of USAID is arbitrary and capricious in multiple

respects.

      79.     First,   defendants   failed   to     acknowledge    the   catastrophic

consequences of their actions, both as they pertain to American workers, to the

lives of millions across the world, and to U.S. national interests.

      80.     Second, defendants fail to articulate a reasoned explanation for the

dissolution of the agency.

      81.     Third, defendants failed to account for the substantial reliance

interests in the continued existence of USAID. “When an agency changes course

. . . it must be cognizant that longstanding policies may have engendered serious

reliance interests that must be taken into account,’’ and the failure to do so is

arbitrary and capricious. DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020)

(internal quotation marks and citation omitted).




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        82.      The dissolution of USAID is also contrary to law. The statutes

defendants violated include, but are not limited to:

                    a. 5 U.S.C § 6329a(b)(1), which provides that “during any

              calendar year, an agency may place an employee in administrative

              leave for a period of not more than a total of 10 work days.”

                    b. 31 U.S.C. § 3901 et seq., which requires agencies to pay valid

              invoices by their contracted due date or within 30 days.

                                PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray that this Court:

   a.         Declare unlawful and set aside the decision to shut down USAID as

              arbitrary, capricious, an abuse of discretion, or otherwise not in

              accordance with law under 5 U.S.C. § 706(2)(A), contrary to

              constitutional right, power, privilege, or immunity under 5 U.S.C. §

              706(2)(B), and in excess of statutory jurisdiction, authority, or

              limitations, or short of statutory right under 5 U.S.C. § 706(2)(C);

   b.         Issue a temporary restraining order and preliminary injunction

              directing defendants to immediately cease actions to shut down

              USAID’s operations in a manner not authorized by Congress and

              directing to them to take the following actions:

                     i. Appoint an independent Acting Director of USAID;

                    ii. Reopen USAID buildings;

                   iii. Restore all USAID computer systems and webpages;




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           iv. Restore funding pursuant to the terms of all grants,

               cooperative agreements, and contracts, consistent with the

               terms of the agreements and any relevant statutes and

               regulations;

            v. Refrain    from     placing     any    additional   workers    on

               administrative leave, or continuing the leave of those

               previously placed on administrative leave, unless such leave

               is authorized by this Court after giving legitimate, non-

               arbitrary, and particularized reasons;

           vi. Recall furlough notices to affected workers unless specifically

               authorized to do so by this Court after giving legitimate, non-

               arbitrary, and particularized reasons;

           vii. Recall mandatory evacuation orders.

c.    Order Defendants to file a status report with the Court within 24 hours

      of entry of a temporary restraining order, and at regular intervals

      thereafter, confirming compliance with these orders.

d.    Issue a permanent injunction barring executive agencies and agency

      heads from taking any action to dissolve USAID absent the

      authorization of Congress;

e.    Award Plaintiffs their costs, reasonable attorney’s fees, and other

      disbursements as appropriate; and

f.    Grant such other relief as the Court deems necessary, just, and proper.




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Dated: February 6, 2025               Respectfully submitted,

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